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 1
                      IN THE UNITED STATES DISTRICT COURT
 2
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3

 4

 5   UNITED STATES OF AMERICA,               ) NO. CR 06-189 SBA
                                             )
 6                         Plaintiff,        ) COURT ORDER RE: DEFENSE
                                             ) INVESTIGATOR CONTACT VISITS
 7     vs.                                   ) IN JAIL
 8                                           )
     TERRANCE T. THOMAS, et al.              )
 9                                           )
                           Defendants.       )
10                                           )
11        Good cause appearing, IT IS HEREBY ORDERED that the Glen Deyer
12
     (North County) Jail and the U.S. Marshal allow contact visits
13
     between defense investigators and the incarcerated defendants in
14
     this case when those contact visits are confirmed in advance with
15

16   the U.S. Marshal by the attorney of record for the particular

17   defendant(s) involved.

18

19   SO ORDERED
20
21
          9-12-06
     DATE_________________                   ___________________________
22                                           SAUNDRA BROWN ARMSTRONG
                                             UNITED STATES DISTRICT JUDGE
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